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                       UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

USA                                             §
                                                §
vs.                                             §      Case No.: SA:19-CR-00106(1)-DAE
                                                §
(1) Benjamin Bogard                             §
  Defendant


              ORDER SETTING REARRAIGNMENT AND PLEA
          IT IS HEREBY ORDERED that the above entitled and numbered case is set for
REARRAIGNMENT AND PLEA, in the Courtroom C, on the 4th Floor in the John H.
Wood, Jr. United States Courthouse, 655 East Cesar E. Chavez Boulevard, San Antonio,
TX, on Wednesday, May 01, 2019 at 2:30 PM.

            IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order
to the defendant, counsel for defendant, the United States Attorney, U.S. Pretrial Services
Office and the U.S. Probation Office. Further, counsel for the defendant shall notify the
defendant of this setting. If the defendant is on bond, he shall be present.

           Counsel for Defendant is directed to appear at the hearing with a copy of the plea
agreement documents(s), if any, as well as the operative charging document so that these
documents are readily available for the defendant to read, review, and consult during the hearing.


              IT IS SO ORDERED on this 24th day of April, 2019.




                                                ______________________________
                                                HENRY J. BEMPORAD
                                                UNITED STATES MAGISTRATE JUDGE
